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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
                                    TALLAHASSEE DIVISION

 B.T., by and through her mother and legal
 guardian, Robin T., and A.G., by and
 through his mother and legal guardian,
 Susel S.,

        Plaintiff(s),                               CASE NO.: 4:22-CV-212-MW-MJF

 vs.

 SIMONE MARSTILLER, in her official capacity
 as Secretary for the Florida Agency for Health
 Care Administration,

       Defendant(s).
 _____________________________________/


                                        MEDIATOR’S REPORT

The parties made significant progress in settlement discussions during mediation and intend to file a
Joint Motion for Stay shortly to facilitate that progress and ultimate resolution of the case.

Dates this 19th day of December 2022.


                                             Respectfully submitted,



                                             George E. Schulz Jr., Mediator
                                             Mediator # 40050 R
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